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                    EXHIBIT C
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                                        SETH R. LESSER, ESQ.
                                    Two International Drive, Suite 350
                                      Rye Brook, New York 10573
                                             914-934-9200
                                       seth@klafterlesser.com


        Seth Lesser is a partner in Klafter Lesser, a New York, New Jersey and District of Columbia
law firm where he practices in the areas of consumer advocacy, mass torts, wage and hour litigation,
and corporate governance, primarily on behalf of injured individuals, defrauded consumers, employees
and businesses. He is admitted to the bars of those three jurisdictions, as well as two dozen federal
courts (see below).

        Mr. Lesser is a graduate of Princeton University, A.B., summa cum laude (1983); Oxford
University, D.Phil. in Modern History, recipient of a Marshall Scholarship (1985); and Harvard Law
School, J.D., magna cum laude (1988), where he was an editor of the HARVARD JOURNAL OF
INTERNATIONAL LAW and of the HARVARD ENVIRONMENTAL LAW REVIEW. In addition, he was the
Princeton University Varsity Heavyweight coxswain in 1982 & 1983 and the coxswain of the
victorious Oxford Blue Boat in the Oxford-Cambridge Boat Race in 1984 & 1985.


SUMMARY OF PROFESSIONAL ACTIVITIES

        Since 1995, Mr. Lesser has primarily represented plaintiffs in individual, class, collective, and
mass tort cases. He regularly speaks and writes on these topics, and is a co-author of a treatise on class
action law.

         He has been the lead plaintiffs’ counsel in dozens of successful individual, class, collective, and
mass tort actions in the areas of consumer law, employment, privacy, securities, and mass tort
litigation. The cases in which he has personally been a lead counsel have returned nearly a billion
dollars to his clients and the cases in which he has been co-counsel several times that amount. In
addition to many class actions where he was lead plaintiffs’ counsel but which cases were not Federal
Multidistrict Litigation proceedings, the MDLs where he was court-appointed lead counsel have
including, among others, MDL-1346 (In re Amazon-Alexa); MDL-1352 (In re Doubleclick); MDL-
1708 (In re Guidant Implantable Heart Devices); MDL-1739 (In re Grand Theft Auto Video Game
Consumer Litigation); MDL-1903 (In re Pepsico, Inc. Bottled Water Sales Practices); and MDL-2025
(In re Staples, Inc. Wage & Hour Employment Practices Litig.). He has also served on numerous
MDL Executive/Steering Committees, including the Executive Committee in MDL-1845 (ConAgra
Peanut Butter Products Liability Litigation), and serving as Law & Briefing Co-Chair of the
Government Actions Committee in MDL-1657 (Vioxx Products Liability Litigation). Among other
things, he was the lead New York class counsel in the Fen/Phen diet drug litigation, in that case
obtained the first certification under New York law for a medical monitoring class, and was the New
York class counsel in the MDL settlement with American Home Products. In one case, a federal court
judge, addressing Mr. Lesser in approving a settlement, stated, “the court already held that class
counsel was adequate in the context of class certification. But more than just adequate, class counsel’s
performance in this case has been exemplary.” Wilson v. Gloucester County, 06-cv-1368 (JEI/AMD)
(D.N.J.) (final approval obtained March 18, 2010).

       He has successfully taken cases to trial. In 2009, he won a verdict one of the first Fair Labor


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Standards misclassification collective cases taken to a jury, resulting in a judgment of $5 million on
behalf of 342 collective action plaintiffs, Stillman v. Staples, Inc., No. 07-cv-849 (D.N.J.), a result
which led to the $42 million nationwide settlement of MDL-2025. More recently, he has obtained
recoveries in cases of $34 million (Nash v. CVS Caremark Corp., 1:09-cv-00079 (D.R.I.)), $20.9
million (Craig v. Rite Aid Corp., 2013 U.S. Dist. LEXIS 2658, at *38 (M.D. Pa.)), $14 million
(Youngblood, et. al. v. Family Dollar Stores, Inc., No. 09-cv-3176 (S.D.N.Y.)), $16.5 million (Thorn v.
Bob Evans, No. 12-cv-768 (S.D. Ohio)); $13.9 million (Jacob v. Duane-Reade, No. No. 11-cv-160
(S.D.N.Y.); $10 million (LaPan v Dick’s Sporting Goods, No. 13-cv-11390 (D. Mass.). The
settlement in the Nash v. CVS Caremark Corp. case was termed by District Judge McConnell
“magnificent” at the final approval hearing. Order Granting Final Approval, Nash v. CVS Caremark
Corp., No. 1:09-cv-00079 (D.R.I. Apr. 9, 2012), while the final approval decision in Craig v. Rite Aid
Corp. (where Mr. Lesser was lead counsel), stated that “To say that Class Counsel vigorously
prosecuted this action would be a gross understatement.” Craig, 2013 U.S. Dist. LEXIS 2658, at *31.

        Mr. Lesser was the National Association of Consumer Advocates’ Attorney of the Year in 2005
and was Co-Chair of the Board of Directors of that organization from 2008 through 2013. From 1998
through 2001, he served as the representative of the American Council on Consumer Interests to the
United Nations. At present, he is on the Second Circuit Courts Committee of the Federal Bar Council,
is active in the Members Consultative Groups of the American Law Institute’s Restatement of the Law
Third, Restitution and Unjust Enrichment project. In 2017, he joined the Board of Public Justice and
was recently chosen to join its Executive Committee. He also been on the Amicus Committee of the
American Association for Justice and was the Co-Chair of the Food-Borne Illness Litigation Group of
the American Association for Justice. He is a member of, inter alia, the American Law Institute; the
American Bar Association; the Second Circuit Federal Bar Council; the Bar Association of the City of
New York; the National Association of Consumer Advocates; the American Association for Justice;
and the National Employment Lawyers Association.

        Other professional organizational appointments have included being the Chair of American Bar
Association’s Business Law Section’s Environmental Litigation Subcommittee (1995-2002); the Co-
Chair of the ABA’s Business Law Section’s Annual Review of Litigation (1995-1998); a member of
the New York City Bar Association’s Committees on Consumer Affairs (1995-1998) and Federal
Courts (1998-2001); a member of the Federal Bar Council’s Second Circuit Courts Committee (2006
to date); and Co-Chair of the American Association for Justice’s Food-borne Illness Litigation Group
(2007-2010). He also was the Chair of the National Association of Securities and Consumer
Attorneys’ Consumer Committee from 2003 to 2005. He was asked to draft revisions to New York
State’s class action law (2002-2003; Report, 2003), as well as having been involved in the drafting of
numerous recommendations, testimony, reports, and other materials for various professional
organizations. His election to the American Law Institute was in 2008 and he actively participated in
the Members Consultative Group to the ALI’s 2009 adoption of the Principles of the Law of Aggregate
Litigation. In addition, Mr. Lesser has served on the Editorial Advisory Board of the Class Action Law
Monitor.

      Mr. Lesser has been repeatedly chosen as a Superlawyer®, both as a Superlawyer® in the New
York Metropolitan Area in the area of class actions and also as one of the 25 best lawyers in
Westchester County, N.Y.


PUBLICATIONS (sample). Among others, Mr. Lesser’s publications include:



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The Federal Bar Council, Courthouses of the Second Circuit (2015) (Contributor)

“An Attorney’s Reaction to Professor Kolodinsky’s Observations,” 44(3) The Journal of Consumer
Affairs (Fall 2010)

Consumer Class Actions, Fifth through Seventh Editions (2002-to date) (Contributor & Ed.), published
by the National Consumer Law Center

“Time price differentials in the rent-to-own industry: implications with empowering vulnerable
consumers,” 29(2) International Journal of Consumer Studies, 119-24 (March 2005) (co-author)

Annual Review of New York's Consumer Protection Statute, New York Law Journal (annual review
articles, 1997-2005)

New Jersey’s Consumer Fraud Law, New Jersey Law Journal (review article, 2003)

“Internet Privacy Litigation and the Current Normative Rules of Internet Privacy Protection,”
Considering Consumer Privacy, Center for Democracy & Technology (March 2003; P. Bruening, ed.)

“Privacy Law in the Internet Era,” Internet Law & Business, September 2002

“The Second Circuit Cuts Back on Diversity Jurisdiction,” New York Law Journal (April 16, 1997)

“New Pleading Requirements for Consumer Fraud Suits,” New York Law Journal (October 25, 1996)


SPEAKING ENGAGEMENTS (sample). Among a number of others, Mr. Lesser’s engagements as
a featured speaker have included:

Steering Committee and Speaker, Co-Cambridge Forum on Plaintiffs’ Class Actions (May 2019 and
May 2020

National Consumer Law Center: Speaker at Annual Symposium on Class Actions (Various locations,
2000-2020) and on other topics relating to consumer law

Stafford, Employment Contracts After Epic SCOTUS Decision (Webinar, August 7, 2019)

National Employment Lawyers’ Association, Annual Convention (July 2018)

Lawline, Introduction to the Fair Labor Standards Act (Webinar, September 18, 2017)

Lawline, SCOTUS Review: Tyson v. Bouaphakeo (Webinar, September 19, 2016)

National Employment Lawyers’ Association, Wage & Hour Conference (Washington, D.C. May 2015)

National Association of Consumer Advocates: Speaker at various conferences on topics relating to
consumer finances, class actions and complex litigation (Various locations, 1999-2015)

National Employment Lawyers’ Association, Fall Conference (Washington, D.C. Oct. 2011)


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Rand Institute for Public Justice: Conference on Alternative Litigation Finance (Alexandria, Virginia
2010)

New Jersey Association for Justice: Meadowlands Seminar – The New Jersey Consumer Fraud Act
(Secaucus, New Jersey, 2009)

Practicing Law Institute: Speaker at multiple conferences, including Consumer Financial Services
Litigation (New York, 2000-2003, 2009) and the First through Fourth Institutes on Privacy Law (New
York & San Francisco, 2000-2004)

American Council on Consumer Interests: Rent-A-Own – Consumer Issues (Orlando, Florida, August
2008)

American Association for Justice: The Status of Daubert Today (Philadelphia, July 2008)

Federal Bar Council Fall Retreat: Rule 23 in The Second Circuit (Lenox, Massachusetts, October
2007)

American Bar Association: Speaker at numerous conferences and teleconferences, including “Class
Actions and Consumers,” (ABA Connection Teleconference, June 20, 2007); Fourth National
Institutes on Class Actions (October 2005); “Class Action Practice After The Fairness Act of 2005”
(Teleconference, March 17, 2005); Internet Privacy Issues (Teleconference Seminar, Sept. 19-20,
2001) (also featured in article on same topic in ABA Journal, September 2001); Business Law
Section’s Annual Review of Litigation (Various locations, 1995-1998) (co-chair)

Mealy’s Publications, Mealey’s Drug & Medical Device Litigation Conference (San Diego, May 2007)

Mealy’s Publications, Representing Toxic Tort Victims (Philadelphia, Pennsylvania, 2003)

Computers, Freedom & Privacy (“CFP”) Conference, Speaker at 12th Annual Conference (San
Francisco 2002)

Mealy’s Publications, Rezulin Conference, Speaker (Alexandria Virginia, 2000)

Reinsurance Association of America, Speaker on Year 2000 litigation issues (New York, 1999)


BAR ADMISSIONS

        Mr. Lesser is admitted to the following Bars: State of New Jersey (1988); U.S. District Court,
District of New Jersey (1988); State of New York (1989); U.S. District Court, Eastern District of New
York (1989); U.S. District Court, Southern District of New York (1989); District of Columbia (1990);
U.S. Court of Appeals, District of Columbia Circuit (1994); U.S. Court of Appeals, Ninth Circuit
(1997); U.S. Court of Appeals, Tenth Circuit (1997); U.S. Supreme Court (1998); U.S. Court of
Appeals, Second Circuit (1998); U.S. District Court, District of Colorado (2000); U.S. Court of
Appeals, Sixth Circuit (2001); U.S. Court of Appeals, First Circuit (2002); U.S. Court of Appeals,
Third Circuit (2003); U.S. District Court, Central District of Illinois (2004); U.S. Court of Appeals,
Seventh Circuit (2004); U.S. Court of Appeals, Eleventh Circuit (2005); U.S. District Court, Northern


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District of New York (2006); U.S. District Court, District of Connecticut (2006); U.S. District Court,
Western District of New York (2010); U.S. District Court, Western District of Michigan (2010); U.S.
District Court, Western District of Tennessee (2015); U.S. District Court, Eastern District of Michigan
(2017); U.S. Court of Appeals, Eighth Circuit (2019).


PERSONAL INFORMATION

        Seth Lesser is married and has four daughters. He is a Past President of the Hillholme
Association in Chappaqua, New York and is a member of the Zoning Board of Appeals for the Village
of Saltaire, New York. He is a member of the Committee for the Oxford-Cambridge Boat Race Dinner
in New York City and he actively continues to be a coxswain, coxing for, among others, the Lake
Union Crew, the Greenwich Crew, and the Thames Rowing Club (London) at such races as the Head
of the Charles.

February 2021




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Klafter Olsen Firm Resume - 02-06-2021




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1    Klafter Lesser LLP                                5   Defective Medical Device and Hazardous Drug Litigation



2    Securities Litigation                             5   AntiTrust Litigation



2    Breach of Fiduciary Duty and Related Litigation   6   The Firm’s Attorneys
                                                       6   Jeffrey A. Klafter

3    Wage & Hour Litigation                            6   Seth R. Lesser
                                                           Christopher M. Timmel

4    Consumer and Commercial Law Litigation            8   Sarah Sears



4    Civil Rights Litigation




Firm Resume                                                                                                        ii
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Klafter Lesser LLP

Klafter Lesser LLP is a nationally recognized law firm that focuses on vindicating the rights of investors, employees, and
consumers under Federal securities and State securities and corporate laws, labor laws, and consumer protection laws,
respectively. Its attorneys have been involved in leading cases in all of these areas and have received recognition for their
efforts from courts, professional organizations and peers for their professionalism and results. The Firm has successfully
litigated cases from one end of the country to the other and its attorneys are admitted in multiple state courts and dozens
of federal courts.

The Firm was founded in June 2003. Together, the Firm’s principals bring over 75 years of experience representing
Plaintiffs to the practice.

The Firm’s philosophy is to aggressively prosecute select actions as opposed to a “volume” type operation. The Firm
provides its clients with the full spectrum of litigation services including: (i) factual investigation, forensic accounting,
and legal analysis; (ii) communications advising the client of the merits of the case, developments in the litigation, and
settlement issues; and (iii) advisory services on an “as needed” basis on both case specific and general litigation matters.

The attorneys in the Firm have obtained over a billion dollars in settlements in the cases in which they have served as lead
lawyers. These results have been obtained in a wide variety of individual and class action contexts. One federal judge
recently stated on the record in open court to one of the Firm’s attorneys that “the court already held that class counsel
was adequate in the context of class certification. But more than just adequate, class counsel’s performance in this case has
been exemplary.” Another called a recent KL settlement a “magnificent result.”




Firm Resume                                                                                                                    1
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  Securities Litigation                                               Breach of Fiduciary Duty
                                                                      and Related Litigation
The Firm has served and presently serves as a lead counsel
in multiple securities class, group and individual actions.         The Firm is also active in pursuing claims for breach of
                                                                    fiduciary duty against corporate officers or directors on
• Antipodean Domestic Partners, L.P. v. Clovis Oncology,
                                                                    behalf of shareholders including the following:
  Inc. et al., No. 655908/2016 (Supreme Court, County of
  New York) (pending)                                               • The Firm was retained by the Post-Confirmation Equity
• Orgone Capital III, LLC et al v. Daubenspeck et al,                 Subcommittee in the bankruptcy of a public company,
  1:16-cv-10849 (N.D. Ill.) (pending)                                 Superior Offshore International, Inc., to prosecute fiduciary
                                                                      duty claims against Superior’s former officers and directors
• In re Fisker Automotive Holdings, Inc. Shareholder Litigation,
                                                                      and has brought suit in the United States Bankruptcy Court
  No. 13-cv-02100-SLR (D. Del.) (pending)
                                                                      for the Southern District of Texas against four senior
• In re SmarTalk Teleservices Inc. Securities Litigation, MDL         officers of the company for waste of corporate assets,
  Docket No. 00-1315 (S.D. Ohio) ($27.1 million)                      insider trading and causing the company’s bankruptcy.
• In re Ashworth, Inc. Securities Litigation, Master File No.         That litigation was settled to the satisfaction of the parties
  99cv0121-L (JFS) (S.D. Cal.) ($15.25 million settlement)            shortly before it was scheduled to be tried.
• In re Eaton Vance Corporation Securities Litigation,              • The Firm was retained by the Liquidating Trust of Debtor
  Civil Action No. 01-10911-EFH (D. Mass.) ($10.5 million             PTMS Liquidating Corp. (f/k/a ProxyMed and MedAvant)
  settlement)                                                         and has brought suit in the United States Bankruptcy Court
• In re InfoSonics Corp. Sec. Litigation, No. 06cv1231                for the District of Delaware for breach of fiduciary duty and
  BTM(WMc) (S.D. Cal.) ($3.8 million settlement)                      fraud against General Atlantic, LLC and Braden Kelly for
                                                                      causing the demise of the Company. That litigation was
• In re Viisage Technologies, Inc. Securities Litigation, No. 05-
                                                                      also settled to the satisfaction of the parties shortly before
  cv-10438 – MLW (D. Mass.) ($2.3 million settlement)
                                                                      it was scheduled to be tried.
The Firm also has had significant roles in the prosecution          • The Firm was sole counsel to the former common
of In re IBM Corp. Securities Litigation, No. 05 Civ. 6279 (AKH)      shareholders of Living Independently Group, Inc. in a class
(S.D.N.Y.) ($20 million settlement), In Re American Business          action in the Court of Chancery of the State of Delaware
Financial Services, Inc. Noteholders Litigation, No. 05-232           seeking damages for breaches of fiduciary duty by its
(ED Pa.) ($16.75 million settlement); and In re Countrywide           former directors and Chief Operating Officer that resulted
Financial Corporation Securities Litigation, No. 2:07-cv-05295        in the company being acquired by General Electric
(MRP-MAN) (C.D. Cal.) ($624 million settlement).                      Company at a bargain basement price which afforded no
In addition to leading securities class actions, the Firm             consideration to the holders of its common share.
was selected by CompuDyne Corporation to represent it               • The firm was co-lead counsel in a class action also in the
in pursuing its claims against individuals and entities who           Court of Chancery of the State of Delaware asserting that
illegally sold the Company’s stock short in advance of a              the conversion of the IMH Secured Loan Fund into IMH
$30 million private placement, and achieved a $4.8 million            Financial Corp. was done in breach of fiduciary duties and
settlement with certain of the short-sellers.                         contractual rights owed to the Unitholders in the Fund.
                                                                      This action and the Living Independently Group action
                                                                      were successfully resolved for the benefit of their
                                                                      respective classes.




Firm Resume                                                                                                                           2
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                                                                    Other notable wage and hour settlements the Firm has
  Wage & Hour Litigation                                            achieved include:

                                                                    • Snodgrass v. Bob Evans Farms, LLC, 2:12-cv-768 (S.D. Ohio)
Klafter Lesser LLP has a strong national reputation for helping       ($16.5 million settlement);
employees obtain the overtime pay and other benefits to
                                                                    • Lapan v. Dick’s Sporting Goods, Inc., 13-cv-11390-RGS (D.
which they are entitled under the Federal Fair Labor
                                                                      Mass.) (($10 million settlement);
Standards Act (FLSA) and comparable state laws. Its lawyers
have successfully handled over [40] federal Fair Labor              • Ravenell v. Avis Budget Car Rental, LLC et al., 08-cv-02113
Standards Act cases and have obtained settlements worth               (E.D.N.Y.) (7.8 million settlement);
more than a quarter of a billion dollars in class, collective and   • Stevens v. Electronic Data Systems Corp., 08-cv-10409
individual cases against defendants that have included                (S.D.N.Y.) ($11.8 million);
Fortune 100 and other companies that have ranged from               • Herring v. Hewitt Inc., 3:06-cv-267 (D.N.J.) (TJB) ($4.9 million
major retailers to nationwide financial institutions. In one          class settlement of FLSA and state claims);
case in which KL was co-lead counsel the $34 million
                                                                    • Caissie v. BJ’s Wholesale Club, 08-CV-30220 (D. Mass.) (MAP)
settlement was described by the United States District Judge
                                                                      ($9.15 million settlement);
who approved the settlement as a “magnificent result.” Nash
v. CVS Caremark Corp., No. 09-cv-079-M (Order granting final        • Nash, et al. v. CVS Caremark Corp., 09-cv-078 (D.R.I.) (JM)
approval, April 9, 2012). Another settlement (for $20.9               ($34 million settlement);
million) in which KL was sole lead counsel was described by         • Craig v. Rite Aid Corp., 08-cv-2317 (M.D. Pa.) ($20.9 million
the Judge as “an excellent and optimal settlement award for           settlement);
the Class Members.” Craig v. Rite Aid Corp., No. 4:08-cv-2317,      • Rancharan v. Family Dollar Corp., 10-cv-07580 (S.D.N.Y.)($14
2013 U.S. Dist. LEXIS 2658, at *41 (M.D. Pa. Jan. 7, 2013). Ten       million settlement); and
years ago, another judge recognized KL as “experience[d] in
                                                                    • Wilkie v. Gentiva Health Services, Inc., 10-cv-01451 (N.D. Cal.)
handling wage and hour class actions and [having]
                                                                      ($5 million settlement).
knowledge of the applicable law,” experience and knowledge
that has only increased in the last decade. Damassia v.             KL will take its cases as far they need to go to obtain relief
Duane Reade, Inc., 250 F.R.D. 152, 165 (S.D.N.Y. 2008) (case        for their wage and hour clients. In fact, perhaps uniquely,
settled for$3.5 million).                                           the Firm has twice taken collective actions to trial (and won
                                                                    both). In 2009, Klafter Lesser LLP was co-lead counsel in
In these cases, KL represents workers across the country
                                                                    what is one of the first FLSA misclassification collective
when they are denied overtime and subjected to other wage
                                                                    actions ever tried to a jury. After the six week trial, plaintiffs
violations. These include misclassifying employees as
                                                                    prevailed on all points, obtaining a verdict finding that the
exempt from being paid overtime under the FLSA and state
                                                                    defendant there, Staples, Inc., had willfully violated the FLSA
wage claim, failing to credit employees for all hours they
                                                                    in failing to pay assistant store managers for hours worked
have worked and failing to pay wages for time spent
                                                                    overtime. The jury awarded the 342 collective action
required by an employer to prepare for or wind up
                                                                    members a verdict of $2.4 million, which the Court doubled
a workday.
                                                                    to $4.2 million because of the finding of wilfullness. KL
                                                                    acted as the lead counsel in obtaining a $42 million
                                                                    settlement against Staples, Inc. that resolved the jury award
                                                                    that KL obtained, as well as a number of other cases that
                                                                    constituted MDL-2025, in which was asserted that Staples
                                                                    misclassified assistant store managers as exempt from
                                                                    receiving overtime for hours worked in excess of 40 hours
                                                                    per week. In re Staples Inc. Wage & Hour Employment
                                                                    Practices Litigation, No. 08-5746 (D.N.J.) (KSH) (MDL-2025).

                                                                    KL has also pursued wage and hour claims by arbitration.




Firm Resume                                                                                                                             3
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  Consumer and Commercial                                        Civil Rights Litigation
  Law Litigation
                                                               Klafter Lesser LLP has actively prosecuted a number of
Klafter Lesser LLP has extensive experience in the areas of    lawsuits on behalf of individuals who have had their civil or
complex commercial and consumer law. Whether                   Constitution rights violated.
representing individuals or business and whether through
                                                               The Firm’s attorneys have obtained awards in many
class or individual actions, the Firm’s attorneys have
                                                               individual and class actions in which racial or gender
recouped hundreds of millions of dollars for its clients in
                                                               discrimination was alleged, including the recent $24.4 million
these areas.
                                                               settlement reached in a case involving historical racial
The Firm’s attorneys have been lead and co-lead counsel        discrimination in the sale of life insurance. In that case, as
in major class action and federal Multi-District Litigation    co-lead counsel, we obtained class certification, defeated the
proceedings that successfully obtained recompense              defendant’s attempt to obtain interlocutory appellate review
from banks, insurance companies, mortgage lenders,             of the certification decision and prevailed against a motion
appraisers and title insurers, as well as rental companies,    for summary judgment, Norflet v. John Hancock Life Ins. Co.,
gasoline companies, automobile manufacturers, computer         No. Civil No. 3:04cv1099 (D. Conn.).
companies, and many others. Seth Lesser has been
                                                               The Firm has also obtained significant recoveries on behalf of
awarded the “Consumer Advocate of the Year” award by
                                                               individuals who were illegally strip searched when they were
the National Association of Consumer Lawyers. One of his
                                                               arrested for non-serious crimes including a $7.5 million class
instance, he obtained over $100 million – 100% of the
                                                               action settlement against one New Jersey county (Hicks v.
individuals’ out-of-pocket damages – for New Jersey
                                                               County of Camden, Civ. No. 05-1857 (D.N.J.), a $4.5 million
consumers who paid hidden usurious interest in Perez v.
                                                               settlement against another (Suggs v. County of Cumberland,
Rent-a-Center, Inc., Docket No. CAM-L-21-03 (Sup. Ct. N.J.),
                                                               Civ. No. 06-0087 (D.N.J.) and a $4.0 million against a third
for victims of mortgage fraud, and for compelling a bank to
                                                               (Wilson v. Gloucester County, Civ. No. 06-1368 (D.N.J.). The Firm
refund interest charges improperly calculated for
                                                               is now involved in prosecuting such cases across the country.
commercial borrowers.
                                                               At the final approval hearing of the Wilson v. Gloucester
                                                               County settlement, on March 18, 2010, Judge Irenas of the
                                                               United States District Court for the District of New Jersey
                                                               stated on the record that “The court already held that class
                                                               counsel was adequate in the context of class certification.
                                                               But more than just adequate, class counsel’s performance in
                                                               this case has been exemplary.”




Firm Resume                                                                                                                       4
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  Defective Medical Device and                                     AntiTrust Litigation
  Hazardous Drug Litigation
                                                                 The Firm is currently prosecuting, with co-counsel,
The Firm’s attorneys have extensive experience in                antitrust claims against Barclays Bank PLC arising from the
representing victims of hazardous pharmaceutical drugs           Federal Energy Regulatory Commission’s sanction of it for
(such as Rezulin or Fen/Phen), defective medical devices         manipulating four Western electricity trading hubs.
(such as certain of Guidant’s implantable defibrillators), and
                                                                 The Firm currently has a role in the In re Dental Supplies
mass food poisonings (such as peanut butter contamination).
                                                                 Antitrust Litigation.
We have represented not only individuals but also
government agencies for reimbursement claims.                    The Firm has had roles in a number of antitrust class actions
                                                                 including In re Air Cargo Antitrust Litigation, In re Hydrogen
Our attorneys have been lead counsel in a number of
                                                                 Peroxide AntiTrust Litigation, and In re High Pressure Laminates
such cases. One involved multiple LYMErix vaccine class
                                                                 Antitrust Litigation.
actions which resulted, as a part of the settlement, in the
withdrawal of the from the market - perhaps a unique
and unprecedented resolution of a pharmaceutical class
action - and which also set forth the terms pursuant to
which the company could apply to the Food and Drug
Administration to seek any reintroduction of the product.
Cassidy v. SmithKline Beecham, No. 99-10423 (Ct. Common
Pleas, PA state court).

In another national mass tort, one of our attorneys, Seth
Lesser, has been serving as one of the co-lead counsel In
re Guidant Corp. Implantable Defibrillators Products Liability
Litigation, MDL No. 05-1708 (DWF/AJB) (D. Minn.), where a
$240 million settlement has been obtained for individuals
who faced economic and personal injury from defectively
designed implantable defibrillators.

Our lawyers have also acted as the lead New York class
counsel in the Fen/Phen diet drug litigation which obtained
the first certification under New York law for a medical
monitoring class, and acted as the designated New York class
counsel in the nationwide multi-billion dollar settlement
with American Home Products. We have experience serving
on state and federal executive and plaintiffs’ steering
committees for other mass tort claims and Mr. Lesser has
been a co-chair of the American Association for Justice’s
Food Borne Illness litigation group.




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  The Firm’s Attorneys

Jeffrey A. Klafter                                                     common shareholders in Living Independent Group, Inc.
                                                                       who did not receive any share of the General Electric Co.’s
Jeffrey A. Klafter has over thirty-five years of experience
                                                                       purchase price of the company, and the claims of investors
in prosecuting securities, breach of fiduciary duty, and
                                                                       in IMH Senior Loan Fund whose managers reorganized the
commercial litigation. Mr. Klafter began his legal career with
                                                                       Fund for their own benefit to the detriment to the investors.
the Antitrust Division of the United States Department
of Justice. After spending two years with the DOJ, Mr. Klafter         Mr. Klafter has also been responsible for the prosecution
entered private practice. From 1988 until mid-2003, Mr.                of innovative and diverse litigation successfully challenging
Klafter was a partner of Bernstein Litowitz Berger &                   Delaware regulations governing the disposal of solid
Grossmann LLP. Early in his career, Mr. Klafter was one of             waste on behalf of waste haulers; the laying of fiber
the principal lawyers responsible for the prosecution of over          optic cable along railroad rights of way on behalf of adjoining
100 defendants to recoup the losses suffered by the                    landowners; and efforts to impose the cost of Y2K
purchasers of municipal bonds issued by the Washington                 compliance on businesses and medical practices by
Public Power Supply System when it defaulted on those                  suppliers of various computer software.
bonds. That litigation resulted in the recovery of over $800
                                                                       Mr. Klafter is a member of the Bar of the State of New York,
million, one of the largest securities fraud settlements in
                                                                       the United States District Court for the Southern District of
history. Mr. Klafter has also served as sole or co lead counsel
                                                                       New York, other federal district courts, the Second Circuit
in prosecuting numerous securities class actions on behalf
                                                                       Court of Appeals, and the United States Supreme Court. Mr.
of investors in common stock, municipal bonds, convertible
                                                                       Klafter is a member of the Securities Law Committee of the
debentures and preferred stock in which hundreds of
                                                                       Commercial and Federal Litigation Section of the New York
millions of dollars have been recovered on behalf of
                                                                       State Bar Association; the Class Actions and Derivative Suits
investors.
                                                                       Committee of the Litigation Section of the American Bar
Among the many notable achievements for which he had                   Association, and is a noted author and lecturer on securities
sole or shared responsibility before forming the Firm with Mr.         litigation issues.
Olsen are the recovery of $48 million in In re Independent
Energy PLC Securities Litigation; the recovery of $300 million in      Seth R. Lesser
In Re: DaimlerChrysler AG Securities Litigation, the decision of
                                                                       Seth R. Lesser practices in the areas of consumer advocacy,
the Second Circuit Court of Appeals reversing the district
                                                                       mass torts and wage and hour litigation, primarily on behalf of
court’s dismissal of plaintiffs’ complaint in In re Scholastic Corp.
                                                                       defrauded consumers, businesses and employees. In addition
Securities Litigation and ultimate settlement of that litigation;
                                                                       to handling cases at the trial court level, he also has an active
the recovery with Mr. Olsen of $27.1 million in In re SmarTalk
                                                                       appellate practice. He began his career at a large defense firm
Teleservices Inc. Securities Litigation, and a significant recovery
                                                                       and subsequently was a partner at two plaintiff-oriented firms,
on behalf of holders of Sun Oil Company preferred stock in
                                                                       Bernstein Litowitz Berger & Grossmann LLP and the Locks Law
litigation over the indenture governing the stock.
                                                                       Firm. He joined the Firm in August, 2008.
Since forming the Firm, Mr. Klafter has also served as special
counsel to lead counsel in the In re Ahold N.V. Securities &           Mr. Lesser is a graduate of Princeton University, A.B., summa
ERISA Litigation, Civil No.: 1:03-MD-01539-CCB (D. Md.) in             cum laude (1983); Oxford University, D.Phil. in Modern History,
which $1.1 billion was recovered on behalf of the class, had           recipient of a Marshall Scholarship (1985); and Harvard Law
a significant role in the prosecution of the Countrywide               School, J.D., magna cum laude, where he was an editor of the
Financial Corporation Securities Litigation, which settled for         Harvard Journal of International Law and of the Harvard
$624 million; successfully prosecuted the claims of the                Environmental Law Review (1985). In addition, he was the
Liquidating Trust created by the Bankruptcy Court that                 coxswain of the Oxford Blue Boat in the Oxford-Cambridge
approved the bankruptcy plan for ProxyMed, the claims of               Boat Race (1984 & 1985).




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Since 1995, Mr. Lesser has primarily represented plaintiffs in     From 1998 through 2001, he served as the representative of
class and collective actions and mass tort cases. He has           the American Council on Consumer Interests to the United
been the lead plaintiffs’ counsel in dozens of successful class    Nations. At present, he is on the Amicus Committee of the
and/or collective actions in the areas of consumer, privacy,       American Association for Justice; is on the Second Circuit
mass tort, employment and securities litigation. The cases         Courts Committee of the Federal Bar Council; and is active in
where he has personally served as plaintiffs’ lead counsel         the Members Consultative Group of the American Law
have returned in excess of half a billion dollars to clients.      Institute’s Restatement of the Law Third, Restitution and
Federal Multidistrict Litigation proceedings where he was          Unjust Enrichment project. He is a member of, inter alia, the
lead or co-lead counsel have including, among others,              American Law Institute; the American Bar Association; the
MDL-1346 (In re Amazon-Alexa) (sole lead); MDL-1352 (In re         Second Circuit Federal Bar Council; the Bar Association of the
Doubleclick) (co-lead); MDL-1708 (In re Guidant Implantable        City of New York; the National Association of Consumer
Heart Devices) (co-lead); MDL-1739 (In re Grand Theft Auto         Advocates; the American Association for Justice; and the
Video Game Consumer Litigation) (sole lead); MDL-1903 (In re       National Employment Lawyers Association.
Pepsico, Inc. Bottled Water Sales Practices) (sole lead);
                                                                   Other professional organization appointments have included
MDL-2025 (In re Staples, Inc. Wage & Hour Employment
                                                                   being the Chair of American Bar Association’s Business Law
Practices Litig.) (lead). He has been on numerous MDL
                                                                   Section’s Environmental Litigation Subcommittee
Executive/Steering Committees, including, the Executive
                                                                   (1995-2002); the Co-Chair of the ABA’s Business Law
Committee in MDL-1845 (ConAgra Peanut Butter Products
                                                                   Section’s Annual Review of Litigation (1995-1998); a member
Liability Litigation), and serving as Law & Briefing Co-Chair of
                                                                   of the New York City Bar Association’s Committees on
the Government Actions Committee in MDL-1657 (Vioxx
                                                                   Consumer Affairs (1995-1998) and Federal Courts
Products Liability Litigation). Among other things, he was
                                                                   (1998-2001); a member of the Federal Bar Council’s Second
the lead New York class counsel in the Fen/Phen diet drug
                                                                   Circuit Courts Committee (2006 to date); and Co-Chair of the
litigation and in that case obtained the first certification
                                                                   American Association for Justice’s Food-borne Illness
under New York law for a medical monitoring class, and was
                                                                   Litigation Group (2007 to date). He also was the Chair of the
the New York class counsel in the settlement with American
                                                                   National Association of Securities and Consumer Attorneys
Home Products. In recent years, he has particularly handled
                                                                   Consumer Committee from 2003 to 2005. He was asked to
numerous wage and hour litigations on behalf of employees
                                                                   draft revisions to New York State’s class action law
denied payment of overtime wages. He was also class
                                                                   (2002-2003; Report, 2003), as well as having been involved in
counsel in Perez v. Rent-A-Center (New Jersey State Court)
                                                                   the drafting of numerous recommendations, testimony,
where a $109 million settlement returned to 100,000 New
                                                                   reports, and other materials for various professional
Jersey consumers over 100% of their out-of-pocket
                                                                   organizations. His election to the American Law Institute was
damages.
                                                                   in 2008. In addition, Mr. Lesser is on the Editorial Advisory
                                                                   Board of the Class Action Law Monitor.
Mr. Lesser was the National Association of Consumer
Advocates’ Attorney of the Year in 2005 and is presently Co-       Mr. Lesser is the member of the bars of New York, New Jersey
Chair of the Board of Directors of that organization. He has       and the District of Columbia as well as nine United States
been repeatedly recognized by his peers as a Superlawyer,          District Courts, nine federal Courts of Appeal and the United
and in two areas: New York class action practice and as one        States Supreme Court.
of the top 25 lawyers in Westchester County.




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Christopher M. Timmel
Christopher M. Timmel is an associate and a member of the
bar of New York. His practice focuses on securities fraud
and wage and hour class action litigation. Prior to joining the
firm, Mr. Timmel worked at two nationally recognized law
firms in New York, where his practice focused on private
Section 10(b) and Rule 10b-5 litigation.

Mr. Timmel is a graduate of Dartmouth College and the
University of Virginia School of Law, where he was sat on the
Editorial Board of the Virginia Environmental Law Journal. He
is also a graduate of Regis High School in New York City.

Sarah Sears
Sarah Sears is an Associate of Klafter Lesser LLP and a
member of the bar of New York. Prior to joining the firm,
Sarah was a litigation associate at a boutique firm in New
York City with a concentration on commercial litigation and
intellectual property. She also previously worked as a legal
fellow in the Office of the General Counsel at NPR, where
she concentrated on content licensing, copyright law,
corporate governance and privacy law.

Ms. Sears graduated cum laude from Skidmore College with
a double major in political science and international affairs
and received her J.D. from Georgetown University Law
Center.




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